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9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN JOSE DIVISION
12
                                                                   *E-FILED - 3/1/06*
13
14   UNITED STATES OF AMERICA,                    )      No. CR 05-00445-RMW
                                                  )
15           Plaintiff,                           )
                                                  )      STIPULATION TO CONTINUE
16      v.                                        )      SENTENCING HEARING
                                                  )
17   CHIRAYU PATEL,                               )
       aka nebula, aka nebwrk, aka aluben,        )
18     aka notneb, aka aluben,                    )
                                                  )
19           Defendant.                           )
                                                  )
20
        It is hereby stipulated and agreed between defendant Chirayu Patel, by and through his
21
     counsel of record, Jessie Garcia, Esq., and the United States, by and through Assistant United
22
     States Attorney Mark L. Krotoski, as follows:
23
        1. This matter is presently set for a sentencing hearing on February 27, 2006 at 1:30 p.m.
24
        2. The Probation Officer has indicated that further time is needed to address sentencing
25
     issues, including the amount of loss.
26
        3. The parties do not oppose this request for further time to prepare the Presentence Report.
27
28

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CR 05-00445-RM W
            Case 5:05-cr-00445-RMW           Document 71        Filed 03/01/06      Page 2 of 2



1       For the foregoing reasons, and that the ends of justice are served by continuing this case, the
2    parties stipulate and request to a continuance of the sentencing hearing from February 27, 2006 at
3    9:00 a.m. to May 8, 2006 at 9:00 a.m., or the next available date.
4       IT IS SO STIPULATED.
5    Dated: February 23, 2006                             KEVIN V. RYAN
                                                          United States Attorney
6
7                                                                /S/
                                                          ________________________
8                                                         MARK L. KROTOSKI
                                                          Assistant United States Attorney
9
     Dated: February 23, 2006                                     /S/
10
                                                          ________________________
11                                                        JESSIE GARCIA
                                                          Attorney for Defendant
12
        IT IS SO ORDERED.
13
        Upon good cause shown, the sentencing hearing is continued from February 27, 2006 at 9:00
14
        a.m. to May 8, 2006 at 9:00 a.m.
15
        Dated: March 1, 2006
16
                                                       /S/ RONALD M. WHYTE
                                                      _________________________
17                                                    RONALD M. WHYTE
                                                      United States District Judge
18
19
            Distribute To:
20
            Jesse J. Garcia
21          Garcia, Schnayerson & Mockus
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26
            Jack Roberson
27          U.S. Probation Officer
            280 South First Street
28          San Jose, CA 95113

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CR 05-00445-RM W                  Page 2 of 2
